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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


    JEROME BETTIS,

                 Plaintiff,

          v.                                                No. 19-cv-3625 (DLF)

    MURIEL BOWSER, et al.,

                  Defendants.


                                   MEMORANDUM OPINION

         Jerome Bettis, acting pro se, brings this civil rights lawsuit against several defendants

under 42 U.S.C. § 1983. Before the Court are two motions to dismiss, one filed by various

government defendants, Dkt. 13, the other filed by various private defendants, Dkt. 19. For the

reasons that follow, the Court will grant the defendants’ motions.

I.       BACKGROUND 1

         This case arises out of an incident at Bettis’s apartment in November 2018. Pl.’s Am.

Compl. at 4, Dkt. 24. Bettis alleges that Monica Miller, the community housing manager of his

building, made a false report to the authorities that Bettis had been “running around the building

with a knife and holle[r]ing I am going to get you.” Id. He alleges that Miller did so because of

Bettis’s advocacy against issues in the building, including “sound waves” and “vibrations” in the

building. Id.; Pl.’s Attachment to Amend. Compl. ¶ 12. He also implicates two family members,

Deneil Bettis and Carmen Bettis, as working against him. Pl.’s Attachment to Amend. Compl.


1 When deciding a Rule 12(b)(6) motion, the court may consider only the complaint itself,
documents attached to the complaint, documents incorporated by reference in the complaint, and
judicially noticeable materials. EEOC v. St. Francis Xavier Parochial Sch., 117 F.3d 621, 624
(D.C. Cir. 1997).
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¶ 3. Bettis alleges that he met with Metropolitan Police Department (MPD) Commander

Durriyyah Habeebullah about why the police were not investigating crimes perpetrated against

him. Id. On November 28, 2019, Community Behavioral Health Specialist Ana Chavez, along

with police officers, arrived at Bettis’s apartment. Id. ¶ 4. Bettis let them into the apartment, and

they made the decision to take Bettis into the Comprehensive Psychiatric Evaluation Unit for a

24-hour evaluation. Id. ¶¶ 5, 12. After four hours of evaluation, Bettis was released. Id. ¶ 13.

        Bettis filed his complaint in December 2019 and amended his complaint in April 2020. 2

He describes this lawsuit as “a civil rights action,” id. at 1, and asserts that “[t]he ability to

speech [sic] freely and adjudicate matters of public and private nature was met with extremely

dangerous resistant [sic] in the District of Columbia without the intervention and support of

appropriate law enforcement and regulatory bodies.” Id. Two sets of defendants filed motions

to dismiss, see Gov’t Defs.’ Mot. to Dismiss, Dkt. 13; Private Defs.’ Mot. to Dismiss, Dkt. 19.

The Court twice warned Bettis that his “failure to respond to the [] Motion to Dismiss on or

before [the deadline] may result in the Court (1) treating the motions as conceded, (2) ruling on

the defendants’ motion based on the defendants’ arguments alone; or (3) dismissing the

plaintiff's claims for failure to prosecute.” See Minute Order of June 25, 2020; Minute Order of

July 15, 2020 (citing Fox v. Strickland, 837 F.2d 507 (D.C. Cir. 1988)). Bettis filed a response to

one of the motions to dismiss, see Pl.’s Response, Dkt. 20, and well after the deadline had passed

for responding to the other motion, Bettis filed a document entitled “Motion for Partial Summary


2Bettis initially filed his Amended Complaint, Dkt. 9, on April 9, 2020. The next day, he filed
an Errata and attached a corrected Amended Complaint, Dkt. 12. The Court recognized the
corrected document as the operative amended complaint. See Minute Order of April 16, 2020.
However, Bettis’s corrected filing did not include the attachments Bettis had previously filed
with his original amended complaint. See Pl.’s Attachment to Amend. Compl., Dkt. 9-2.
Accordingly, the Court will consider both Bettis’s corrected amended complaint and his original
attachment as comprising the amended complaint.


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Judgment,” Dkt. 25, which he later moved to withdraw, Dkt. 29. In both the motion for partial

summary judgment and the motion to withdraw, Bettis complained about the method by which

he was served documents, the actions of defendants’ counsel in this and other unrelated cases,

and the living conditions of his apartment. The Court granted Bettis leave to file a surreply, Dkt.

26, in which he further addressed the merits of this dispute. The Court then granted Bettis leave

to file a second surreply, Dkt. 30.

II.    LEGAL STANDARD

       Rule 12(b)(6) of the Federal Rules of Civil Procedure allows a defendant to move to

dismiss the complaint for failure to state a claim upon which relief can be granted. Fed. R. Civ.

P. 12(b)(6). To survive a Rule 12(b)(6) motion, a complaint must contain factual matter

sufficient to “state a claim to relief that is plausible on its face.” Bell Atl. Corp. v. Twombly, 550

U.S. 544, 570 (2007). A facially plausible claim is one that “allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Ashcroft v. Iqbal,

556 U.S. 662, 678 (2009). This standard does not amount to a specific probability requirement,

but it does require “more than a sheer possibility that a defendant has acted unlawfully.” Id.; see

also Twombly, 550 U.S. at 557 (“Factual allegations must be enough to raise a right to relief

above the speculative level.”). A complaint alleging facts that are “merely consistent with a

defendant’s liability . . . stops short of the line between possibility and plausibility.” Iqbal, 556

U.S. at 678 (internal quotation marks omitted).

       Well-pleaded factual allegations are “entitled to [an] assumption of truth,” id. at 679, and

the court construes the complaint “in favor of the plaintiff, who must be granted the benefit of all

inferences that can be derived from the facts alleged,” Hettinga v. United States, 677 F.3d 471,

476 (D.C. Cir. 2012) (internal quotation marks omitted).




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       “A document filed pro se is to be liberally construed, and a pro se complaint, however

inartfully pleaded, must be held to less stringent standards than formal pleadings drafted by

lawyers.” Erickson v. Pardus, 551 U.S. 89, 94 (2007) (internal citation and quotation marks

omitted). However, “the Supreme Court has made clear that . . . there is no requirement ‘that

procedural rules in ordinary civil litigation should be interpreted so as to excuse mistakes by

those who proceed without counsel.’” Jean-Pierre v. Fed. Bureau of Prisons, 880 F. Supp. 2d

95, 100 (D.D.C. 2012) (citing McNeil v. United States, 508 U.S. 106, 113 (1993)). Although a

pro se complaint is generally entitled to liberal construction, see Washington v. Geren, 675

F.Supp.2d 26, 31 (D.D.C. 2009), the assumption of truth does not apply to a “legal conclusion

couched as a factual allegation,” Iqbal, 556 U.S. at 678 (quotation marks omitted). An

“unadorned, the defendant-unlawfully-harmed-me accusation” is not credited; likewise,

“[t]hreadbare recitals of the elements of a cause of action, supported by mere conclusory

statements, do not suffice.” Id.

       Finally, a Rule 12(b)(6) dismissal for failure to state a claim “is a resolution on the merits

and is ordinarily prejudicial.” Okusami v. Psychiatric Inst. of Wash., Inc., 959 F.2d 1062, 1066

(D.C. Cir. 1992).

III.   ANALYSIS

       Construing Bettis’s complaint liberally, he brings a civil rights lawsuit under 42 U.S.C.

§ 1983 alleging various constitutional violations against public and private individuals. Section

1983 “holds liable ‘[e]very person who, under color of any statute, ordinance, regulation,

custom, or usage, of any State or Territory or the District of Columbia, subjects, or causes to be

subjected, [another person] to the deprivation of any rights, privileges, or immunities secured by

the Constitution and laws.”’ Hoai v. Vo, 935 F.2d 308, 312 (D.C. Cir. 1991) (quoting 42 U.S.C.




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§ 1983). “To state a claim under [§] 1983, a plaintiff must allege both (1) that he was deprived

of a right secured by the Constitution or laws of the United States, and (2) that the defendant

acted under color of the law of a state, territory or the District of Columbia.” Id. at 312 (internal

quotation marks omitted). “Private parties . . . may be deemed to have acted under color of law

in two circumstances: when they conspire with state officials, and when they willfully engage in

joint activity with a state or its agents.” Id. at 313. This requires “at a minimum, some overt and

significant state participation in the challenged action.” Id.

        A.      The Government Defendants

        Bettis names Muriel Bowser, the mayor of Washington, D.C., Durriyyah Habeebullah, an

MPD commander; and Ana Chavez, a community behavioral health specialist with the D.C.

Department of Behavioral Health, as defendants. He later added two additional MPD officers,

Paul Skelton and Karim Henry. Bettis sues these defendants both in their individual and official

capacities. The Court will first consider the claims against each of the government defendants in

their individual capacities and then consider the claim against the government defendants in their

official capacities, which under § 1983 is a claim against the municipality itself. See Atchinson

v. D.C., 73 F.3d 418, 420 (D.C. Cir. 1996).

                1.      Individual Capacity Claims

        As an initial matter, Bettis does not plead any facts relating to Mayor Bowser. “Because

vicarious liability is inapplicable to . . . § 1983 suits, a plaintiff must plead that each

Government-official defendant, through the official’s own individual actions, has violated the

Constitution [or federal law].” Iqbal, 556 U.S. at 676. Bettis fails to do so. He merely lists

Mayor Bowser as a defendant without any accompanying allegations that she participated in the

alleged violation of his constitutional rights. A “complaint must at least allege that the defendant




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[] official was personally involved in the illegal conduct.” Simpkins v. D.C. Gov’t, 108 F.3d 366,

369 (D.C. Cir. 1997); see also Stone v. Walsh, 756 F. Supp. 2d 4, 7 (D.D.C. 2010) (dismissing

§ 1983 claims against official in his individual capacity when plaintiff alleged no facts indicating

official’s personal involvement), aff’d, No. 10-7177, 2011 WL 1766057 (D.C. Cir. Apr. 4, 2011).

Accordingly, any claim against Bowser in her individual capacity must be dismissed.

       The same is true of Bettis’s claim against Commander Habeebullah. Bettis does not

allege specific facts that indicate that Commander Habeebullah violated his constitutional or

statutory rights. Indeed, he does not allege that Commander Habeebullah was present or

involved with his psychological evaluation. Rather, he merely alleges that he met with

Commander Habeebullah about unrelated matters and then was detained for evaluation the next

day. See Amend. Coml. at 5; Pl.’s Attachment to Amend. Compl. ¶ 3. This implication from

temporal proximity alone does not “raise a right to relief above the speculative level,” Twombly,

550 U.S. at 555. Without more, the Court cannot “draw the reasonable inference” that

Commander Habeebullah somehow violated the Constitution or federal law. Iqbal, 556 U.S. at

678. For this reason, the claim against Commander Habeebullah must be dismissed. See id.

(holding that a complaint that alleges facts which are “merely consistent with a defendant’s

liability . . . stops short of the line between possibility and plausibility” (internal quotation marks

omitted)).

       As to the claim against health specialist Chavez, 3 Bettis does plead relevant facts. He

alleges that Chavez was involved in the decision to detain him for a mental health evaluation by



3As with Mayor Bowser, Bettis does not mention MPD Sergeant Paul Skelton in his Amended
Complaint. See Am. Compl. Bettis simply lists him as a defendant. That alone is enough to
dismiss any claim against Sergeant Skelton. See Simpkins, 108 F.3d at 369 (holding that a
“complaint must at least allege that the defendant [] official was personally involved in the



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“agree[ing] to place Plaintiff under arrest” with MPD Officer Karim Z. Henry. See Pl.’s

Attachment to Amend. Compl. ¶ 9. Chavez responds to Bettis’s allegations, in part, by raising

the defense of qualified immunity. See Gov’t Defs.’ Mot. to Dismiss at 7. Because qualified

immunity is a threshold issue, the Court will address it at the outset.

       “The doctrine of qualified immunity protects government officials ‘from liability for civil

damages insofar as their conduct does not violate clearly established statutory or constitutional

rights of which a reasonable person would have known.’” Pearson v. Callahan, 555 U.S. 223,

231 (2009) (quoting Harlow v. Fitzgerald, 457 U.S. 800, 818 (1982)). Because qualified

immunity is “immunity from suit,” the Supreme Court “repeatedly ha[s] stressed the importance

of resolving immunity questions at the earliest possible stage in litigation.” Pearson, 555 U.S. at

232 (internal quotation marks omitted). Defendants “are entitled to qualified immunity under

§ 1983 unless (1) they violated a federal statutory or constitutional right, and (2) the

unlawfulness of their conduct was ‘clearly established at the time.”’ Dist. of Columbia v. Wesby,

138 S. Ct. 577, 589 (2018). “Clearly established means that, at the time of the officer’s conduct,

the law was sufficiently clear that every reasonable official would understand that what he is

doing is unlawful.” Id. (internal quotation marks omitted). “This demanding standard protects

all but the plainly incompetent or those who knowingly violate the law.” Id. (internal quotation

marks omitted).

       As to the first prong of the qualified immunity analysis, Bettis appears to argue that

Chavez and Officer Henry violated his Fourth Amendment right to be free from an

unconstitutional seizure by falsely “arrest[ing]” him. See Pl.’s Attachment to Amend. Compl.


illegal conduct”). For the sake of liberal construction, however, the Court will assume that Bettis
intended to include Sergeant Skelton in the facts surrounding the incident at his apartment.
Accordingly, they can be dismissed for the same reasons discussed infra.


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¶ 9. Chavez, a community behavioral health specialist with the Department of Behavioral

Health, agreed with Officer Henry to detain Bettis for a psychiatric evaluation, id., pursuant to

their authority under local law. See id.; D.C. Code § 21-521 (“An accredited officer or agent of

the Department of Mental Health of the District of Columbia, or an officer authorized to make

arrests in the District of Columbia . . . who has reason to believe that a person is mentally ill and,

because of the illness, is likely to injure himself or others . . . may, without a warrant, take the

person into custody . . . and make application for his admission thereto for purposes of

emergency observation and diagnosis.”); see also D.C. Code § 7-1141.02(b) (describing the

Department of Behavioral Health as the “successor-in-interest” to the Department of Mental

Health).

       Bettis concedes that Chavez and Officer Henry based the decision to detain him on the

report of Monica Miller, the community housing manager, who told the authorities that Bettis

had been “running around the building with a knife and holle[r]ing I am going to get you and so

forth.” Pl.’s Am. Compl. at 4. To be sure, Bettis also alleges that Miller’s report was fabricated.

Id. Even taking that as true, as we must at this stage of the proceedings, it is of no moment

because qualified immunity protects “reasonable, but mistaken, beliefs as to the facts

establishing the existence of probable cause.” Saucier v. Katz, 533 U.S. 194, 206 (2001). In

other words, even if Miller’s report later turned out to be false, what is relevant is the

information that the officials had “at the time of the arrest[],” not in hindsight. Wesby, 138 S. Ct.

at 593. And the report that Bettis was running around the communal building brandishing a

knife and yelling threats gave rise to probable cause to believe that Bettis was mentally ill and a

danger to himself or others. In the end, Bettis has not pointed to any authority for the proposition

that he had a right to be free from being detained for a mental health evaluation after authorities




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received a specific report about his dangerous behavior from a witness on the scene—let alone

that such a right was clearly established and “beyond debate.” Id. at 589. Thus, the officials

who made the decision to take Bettis in for an evaluation are entitled to qualified immunity.

               2.      Official Capacity Claims

       “A section 1983 suit for damages against municipal officials in their official capacities

is . . . equivalent to a suit against the municipality itself.” Atchinson, 73 F.3d at 424. And a

municipality cannot be held liable for the acts of its employees alone. See Monell v. Dep’t of

Soc. Servs., 436 U.S. 658, 691–94 (1978) (rejecting the theory of respondeat superior in this

context). Rather, a plaintiff must allege that the municipality followed a “policy or custom” that

resulted in the constitutional injury. See id. at 694. Under this rule, “a municipality can be liable

under § 1983 only where its policies are the ‘moving force [behind] the constitutional

violation.’” City of Canton v. Harris, 489 U.S. 378, 388–89 (1989) (internal quotation marks

omitted). Thus, “a section 1983 complaint alleging municipal liability must include some factual

basis for the allegation of a municipal policy or custom.” Atchinson, 73 F.3d at 422. Because

Bettis has not pled any facts supporting the proposition that the District of Columbia falsely

arrested him (or violated any of his other rights) pursuant to any policy or custom, his claims

against the government defendants in their official capacity must be dismissed.

       B.      The Private Defendants

       As to the various private defendants, Bettis appears to argue primarily that he was

retaliated against on the basis of his speech advocating for improvements to the apartment

building. To state a claim for relief under § 1983, Bettis must plead facts indicating that these

private individuals were acting “under color of any statute, ordinance, regulation, custom, or

usage, of any State or Territory or the District of Columbia,” 42 U.S.C. § 1983. “[S]tate action




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may be found if, though only if, there is such a close nexus between the State and the challenged

action that seemingly private behavior may be fairly treated as that of the State itself.”

Brentwood Acad. v. Tenn. Secondary Sch. Athletic Ass’n, 531 U.S. 288, 295, (2001).

       Bettis does not plead facts to this effect. Indeed, the complaint form he completed

included a section explicitly prompting him to “explain how each defendant acted under color of

state or local law.” Am. Compl. at 4. Bettis left this section blank. Id. The closest he comes to

pleading relevant facts on this point is his allegation that the apartment building was patrolled by

the D.C. police and that the building “appeared to garner large benefits when it came to the

District of Columbia regulatory agencies conducting license and inspection violations.” Pl.’s

Attachment to Am. Comp. at 1. Neither of these allegations on tangential matters indicates “a

close nexus” between the government and the private actors when it comes to the relevant

alleged events. “[A] complete failure to allege facts that would support a finding of action under

color of law . . . affords valid grounds for dismissal of a [§] 1983 claim.” Hoai v. Vo, 935 F.2d

308, 314 (D.C. Cir. 1991). Thus, the claims against private the individuals must be dismissed.

       C.      Supplemental Jurisdiction

       For the reasons stated above, the Court will dismiss Bettis’s § 1983 claims. To the extent

Bettis raises any new federal claims in his responsive pleadings, see Pl.’s Opp. (referencing, for

the first time, the Second, Sixth, and Eighth Amendments), “[i]t is well settled law that a plaintiff

cannot amend his or her complaint by the briefs in opposition to a motion to dismiss.” Kingman

Park Civic Ass’n v. Gray, 27 F. Supp. 3d 142, 160 n.7 (D.D.C. 2014).

       Although Bettis does not explicitly plead any state law claims, he includes a reference to

“false light, slander and defamation” in an attachment to his complaint, see Pl.’s Attachment to

Am. Compl. ¶ 5. To the extent that this stray reference can be construed as stating state law




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claims, the Court will decline to exercise supplemental jurisdiction.

       If “the district court has dismissed all claims over which it has original jurisdiction,” the

court “may decline to exercise supplemental jurisdiction” over any remaining claims. Turner v.

Corr. Corp. of Am., 56 F. Supp. 3d 32, 36 (D.D.C. 2014) (citing 28 U.S.C. § 1367(c)(3)). “[I]n

the usual case in which all federal-law claims are dismissed before trial, the balance of factors to

be considered under the pendent jurisdiction doctrine—judicial economy, convenience, fairness,

and comity—will point toward declining to exercise jurisdiction over the remaining state law

claims.” Shekoyan v. Sibley Int’l, 409 F.3d 414, 424 (D.C. Cir. 2005) (quoting Carnegie Mellon

Univ. v. Cohill, 484 U.S. 343, 350 n.7 (1988)). In light of the early stage of this litigation, the

Court will decline to exercise supplemental jurisdiction. Accordingly, the complaint is dismissed

in full, but without prejudice as to any state law claims.

                                          CONCLUSION

       For the foregoing reasons, the Court grants the defendants’ motions to dismiss and denies

all other pending motions as moot. A separate order consistent with this decision accompanies

this memorandum opinion.




                                                               ________________________
                                                               DABNEY L. FRIEDRICH
                                                               United States District Judge
September 21, 2020




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